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          Re: United States v. Raynaldo Ortiz; 3:22-CR-378-N



Dear Counsel:

        I send this letter in response to the government’s correspondence of February 16, 2024.
Thank you for acknowledging receipt of the defense’s original and supplemental discovery letters.
We will, of course, comply with the reciprocal discovery provision of Rule 16. The defense will not
offer an alibi defense, nor will it offer an insanity defense. I believe this satisfies the defense’s
obligations under Federal Rules of Criminal Procedure 12.1 and 12.2.

        We have reviewed the fingerprint discovery to which you refer. The reports do not appear to
indicate that a match was made, and no related experts have been listed. Are additional reports or
witnesses expected to address the issue?

                                                    1                              DEFENDANT’S
                                                                                     EXHIBIT
                                                                                           A
                                                                                 3:22-CR-378-N
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